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                    Exhibit F
                       Case 1:21-cv-00184-MW-GRJ Document 45-6 Filed 12/17/21 Page 2 of 8
3 UF professors decry task force in letter to UF president | Miami Herald                                                                         12/17/21, 9:18 AM




      SECTIONS




                                                                                 HOMEPAGE



                                    UF professors accuse task force examining
                                   expert testimony of having its own conflicts
                              BY JIMENA TAVEL
                              UPDATED NOVEMBER 15, 2021 3:21 PM                                                         !        "   #        $




                              Century Tower is the central landmark of the campus of the University of Florida in Gainesville.
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                              The three University of Florida professors who sued the university after it initially
                              barred them from testifying in a lawsuit against the state in a voting rights issue sent
                              a scathing letter to UF President Kent Fuchs on Friday, accusing him of creating a
                              task force as a public relations ploy and putting people on the committee who had
                              developed the very conflict-of-interest policies being reviewed.

                              “We write to express our grave concern about the formation, composition, and scope


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                              of the purported ‘task force’ that you appointed in an attempt to respond to the
                              threat to the University’s accreditation caused by the administration’s recent
                              intrusions into academic freedom,” reads the missive, signed by the three political
                              science professors, Daniel Smith, Sharon Austin and Michael McDonald.

                              The professors described what’s happening as “a crisis of academic sovereignty.”

                              They said they had hoped to “reach an amicable resolution without going to court,”
                              but not anymore. “It is unfortunate that this matter will have to be adjudicated in a
                              court of law and not between peers,” they wrote.

                              Fuchs and UF Provost Joe Glover declined to comment Friday on the letter, said UF
                              spokesman Steve Orlando.

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                              “President Fuchs and Provost Glover aren’t doing any interviews on this topic,” he
                              wrote in an email.

                              BEGAN WITH BARRING THE PROFESSORS FROM TESTIFYING

                              UF first told the professors they couldn’t participate as paid expert witnesses in a
                              lawsuit challenging the state over Senate Bill 90, a new Florida law that restricts
                              voting access, despite having done so in other previous lawsuits against the state.
                              The university argued their testimony could pose a “conflict of interest to the
                              executive branch of the State of Florida and create a conflict for the University of
                              Florida.”

                              After the body that accredits the school, the Southern Association of Colleges and
                              Schools’ Commission on Colleges, said it would launch an investigation as to whether
                              “undue political influence” violated UF’s accrediting standards, UF reversed its
                              decision, saying the professors could testify as paid witnesses as long as it was on
                              their own time and they did not use UF resources.

                              The three faculty members filed a federal lawsuit last Friday against Fuchs, Glover
                              and the university’s Board of Trustees, alleging their First Amendment rights were
                              being threatened.They asked the court to strike down UF’s conflict-of-interest policy,
                              which was amended July 1, 2020, and requires faculty members to file a request
                              every time they wish to participate in outside activities.



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                                  UF professors' lawsuit         Contributed by Jimena Tavel (Miami Herald)




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                                                         IN THE UNITED STATES DISTRICT COURT FOR THE
                                                                 NORTHERN DISTRICT OF FLORIDA
                                                                     GAINESVILLE DIVISION


                                                SHARON WRIGHT AUSTIN, MICHAEL
                                                          Contributed by Jimena Tavel (Miami Herald)
                                                MCDONALD, AND DANIEL A. SMITH,

                                                              Plaintiffs,                      Civil Action No.:
                                                   v.
                                  UF professors' lawsuit
                                                UNIVERSITY OF FLORIDA BOARD OF TRUSTEES,
                                                the public body corporate acting for and behalf of the
                                                University of Florida, W. KENT FUCHS, in his official
                                                capacity as President of the University Florida, and
                                                JOSEPH GLOVER, in his official capacity as Provost
                                                of the University of Florida,

                                                          Defendant.
                                                ____________________________________________/

                                                                                 COMPLAINT

                                                       Plaintiffs Sharon Wright Austin, Michael McDonald, and Daniel A.

                                  Document                                          1 andofthrough
                                                Smith (collectively, “Plaintiffs”), by      18                             100%
                                                                                                   the undersigned attorneys,



                              UF PRESIDENT FORMS TASK FORCE

                              In response to the backlash, Fuchs announced Nov. 1 that UF would form a task force
                              to “review the university’s conflict of interest policy and examine it for consistency
                              and fidelity.”

                              Smith, Austin and McDonald said in their letter on Friday that creating a task force
                              “appears to have originated not with the faculty itself, but with the administration’s
                              government relations and public relations team.”

                              On Nov. 5, Fuchs appointed seven members — including UF experts in journalism,
                              law, business and medicine — to the task force, which met for the first time Tuesday.




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                              The group, which gathered virtually again Friday morning, decided to meet seven
                              times to meet their Nov. 29 deadline to submit initial recommendations to Fuchs.

                              In an interview with the Herald on Friday, Austin said the administration should
                              listen to faculty’s concerns about academic freedom, and she doesn’t think they can
                              achieve that through a task force.

                              “The task force is not the answer,” she said. “This is a matter of guaranteeing that
                              academic freedom will be respected at our campus and that First Amendment rights
                              will be protected at our campus. How they do it is up to them to decide, but the first
                              thing they need to do is to strike down this unconstitutional policy.”

                              CONCERNS ABOUT CONFLICTS OF INTEREST IN THE TASK FORCE

                              In their letter, the UF professors took issue with two task force members, contending
                              that Laura Rosenbury, the dean of the UF Levin College of Law, and Terra DuBois,
                              UF’s chief compliance, ethic, and privacy officer, have both “been engaged in the
                              development and unconstitutional execution of the existing conflict of interest
                              policies.”

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                              “Neither can fairly or objectively judge the permissibility or constitutionality of their
                              own actions,” they wrote.

                              They also pointed out Fuchs didn’t select any of the College of Liberal Arts and
                              Sciences faculty members.

                              Dubois declined to comment in an email, because she’s “not giving interviews on this
                              topic.” Rosenbury didn’t respond to requests for comment.

                              Additionally, the professors said Fuchs should not be involved because he
                              discouraged the UF Faculty Senate on Sept. 21 from challenging the “state
                              government’s ‘final decision’ on a policy.” Fuchs told professors any public action,



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                              such as a vote of no confidence, “would fracture the relationship between the
                              University and state government.”

                              “It is both ironic and telling that a ‘task force’ purportedly formed to address the
                              issue of conflicts of interest is itself rife with them,” the professors wrote in the
                              letter.




                                  UF professors' letter to Fuchs                   Contributed by Jimena Tavel (Miami Herald)




                                             November12,2021


                                             BYEMAIL

                                             Dr.W. Kent Fuchs
                                             President,Universityof Florida
                                                                            Contributed by Jimena Tavel (Miami Herald)
                                             226Tigert Hall

                                             Gainsville,FL32611president@ufl.edu
                                  UF professors' letter toTask
                                          RE: President’s  Fuchs
                                                               Force on OutsideActivities

                                             President Fuchs:

                                             Wewritetoexpress ourgraveconcernabout theformation,composition,andscopeofthe
                                             purported“task force”that you appointedinanattempt torespond tothethreat tothe
                                             University’s accreditationcausedbythe administration’s recent intrusions intoacademic
                                             freedom.

                                             Wehadhopedsuchataskforce wouldbeconvenedingood faithandperhaps wewouldbe able
                                             tofind awaytoreach an amicableresolutionwithout goingtocourt,but what wehaveseen and
                                             heardfrom theUniversityunderscores theimportanceofthelawsuit wefiled.

                                             First,assigningthis issue toa“task force”of your choosingappears simplytobeacynical tactic
                                             todefusepress attentionandstem thereputational damagethat resultedwhentheUniversity
                                             imposedapriorrestraint on,andsought todiscriminatebasedonviewpoint among,thespeechof
                                             its facultymembers. The “task force” concept appears tohaveoriginatednot withthefaculty
                                             itself,but withtheadministration’s government relations andpublicrelations team.

                                  Document                                                    1     of 2                             100%
                                             Second,thecompositionofthe“task force”highlights its illegitimacyandinadequacy. The



                              TASK FORCE’S MISSION

                              During the first task force meeting, Clay Calvert, a UF law and journalism professor
                              and a task force member, asked the group to broaden its scope and address conflict-
                              of-interest that could arise from “commentary to the media, signing onto amicus
                              briefs, friend of the courts, any time in which a professor acting as a private citizen,
                              speaking out in a matter of public concern, is involved.”

                              The task force decided to target the questions about expert witness testimony first.


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                              At the second task force meeting Friday morning, Calvert said the expert witness
                              testimony dilemma could be examined from two legal perspectives: the speech
                              rights of government employees (UF is a public university, so UF faculty members
                              are government employees), or freedom of speech rights granted by the First
                              Amendment.




                              Both Calvert and Rosenbury recommended the task force look at the government
                              employee speech doctrine.


                                                                                                                                     $




                              Gov. Ron DeSantis joined University of Florida President Kent Fuchs and Board of Trustees Chair Mori Hosseini
                              to celebrate UF's No. 5 national ranking among public universities. BY THE FLORIDA CHANNEL


                              “Academic freedom is much more relevant to what happens pursuant to a
                              professor’s job duties, and here we’re talking about outside activities,” Rosenbury
                              said. “Because we’re focused on outside activities, the public employee speech cases
                              ... would be the appropriate analysis.”

                              The task force will meet again Monday morning. The members said they would
                              discuss what the process should be in requesting permission to serve as an expert
                              witness.

                              Austin told the Herald the government employee viewpoint shows “just how out-of-
                              touch the task force is” and how “the task force fundamentally misunderstands the
                              problem.”




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                              “It’s important to understand that professors aren’t just ordinary governmental
                              employees,” she said. “A university is supposed to be a place where all viewpoints
                              are encouraged. It’s our job to share knowledge with the public and the university is
                              stifling that.”

                              Whether they share that knowledge inside a classroom as a lecturer or outside the
                              classroom, perhaps in a courtroom as an expert witness, she said, is irrelevant.

                              “As a citizen of this country, I have a right and, as a professor, especially, I have right
                              to academic freedom in every context,” she added. “And to deny me of that right
                              with this policy is unconstitutional.”

                              This story was originally published November 12, 2021 5:11 PM.

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                                              JIMENA TAVEL                                                                      786-442-8014



                              Jimena Tavel covers higher education for the Miami Herald and el Nuevo Herald. She’s a bilingual reporter with
                              triple nationality: Honduran, Cuban and Costa Rican. Born and raised in Tegucigalpa, Honduras, she moved to
                              Florida at age 17. She earned her journalism degree from the University of Florida in 2018, and joined the
                              Herald soon after.




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